                                                                                                                 Case 10-16267-SSM              Doc 40    Filed 08/24/10 Entered 08/24/10 20:26:30              Desc Main
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                                                                                                                                            UNITED STATES BANKRUPTCY COURT
                                                                                                                                                         Eastern District of Virginia
                                                                                                                Larry L. LeHew, Jr. & Mary B. LeHew
                                                                                                        In re                                                           ,         Case No.     10-16267
                                                                                                                                       Debtor                                                       Chapter 7



                                                                                                                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                         PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                         secured by property of the estate. Attach additional pages if necessary.)


                                                                                                           Property No. 1
                                                                                                          Creditor's Name:                                                   Describe Property Securing Debt:
                                                                                                           Aurora Loan Services                                                Primary Residence
                                                                                                           10350 Park Meadows Dr St
                                                                                                           Littleton, CO 80124

                                                                                                           Property will be (check one):
                                                                                                                     Surrendered                             Retained

                                                                                                           If retaining the property, I intend to (check at least one):
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                                                                                                                      Redeem the property
                                                                                                                      Reaffirm the debt
                                                                                                                      Other. Explain _______________________________________________(for example, avoid lien
                                                                                                           using 11 U.S.C. §522(f)).

                                                                                                           Property is (check one):
                                                                                                                      Claimed as exempt                                     Not claimed as exempt



                                                                                                           Property No. 2 (if necessary)
                                                                                                          Creditor's Name:                                                   Describe Property Securing Debt:
                                                                                                           Dominion Management Services, Inc.                                  2006 Toyota Avalon
                                                                                                           426 Weems Lane
                                                                                                           Winchester, VA 22601

                                                                                                           Property will be (check one):
                                                                                                                     Surrendered                             Retained

                                                                                                           If retaining the property, I intend to (check at least one):
                                                                                                                      Redeem the property
                                                                                                                      Reaffirm the debt
                                                                                                                      Other. Explain _______________________________________________(for example, avoid lien
                                                                                                           using 11 U.S.C. §522(f)).

                                                                                                           Property is (check one):
                                                                                                                      Claimed as exempt                                     Not claimed as exempt
                                                                                                                 Case 10-16267-SSM                 Doc 40    Filed 08/24/10 Entered 08/24/10 20:26:30                 Desc Main
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                                                                                                            PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                            Each unexpired lease. Attach additional pages if necessary.)



                                                                                                              Property No. 1           NO Leased Property
                                                                                                             Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                  to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                     YES              NO


                                                                                                              Property No. 2 (if necessary)
                                                                                                             Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                  to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                     YES              NO


                                                                                                              Property No. 3 (if necessary)
                                                                                                             Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                  to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                     YES              NO
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                                                                                                              9
                                                                                                             ______ continuation sheets attached (if any)

                                                                                                            I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                            Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                                  10-16267
                                                                                                            Date:_____________________________                          /s/ Larry L. LeHew, Jr.
                                                                                                                                                                     Signature of Debtor




                                                                                                                                                                        /s/ Mary B. LeHew
                                                                                                                                                                     Signature of Joint Debtor
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                           PART A - Continuation




                                                                                                             Property No: 3

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Specialized Loan Servicing                                                   833 Winchester Ave
                                                                                                              8742 Lucent Blvd Ste 300
                                                                                                              Highlands Ranch, CO 80129

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt




                                                                                                             Property No: 4

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Bac Home Loans Servici                                                       833 Winchester Ave
                                                                                                              450 American St
                                                                                                              Simi Valley, CA 93065

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).

                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                           PART A - Continuation




                                                                                                             Property No: 5

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              GMAC Mortgage                                                                404 & 406 S. Kentucky Ave.
                                                                                                              3451 Hammond Ave
                                                                                                              Waterloo, IA 50702

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt




                                                                                                             Property No: 6

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Onewest Bank                                                                 517 & 517.5 Kentucky Ave.
                                                                                                              6900 Beatrice Drive
                                                                                                              Kalamazoo, MI 49003

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).

                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                           PART A - Continuation




                                                                                                             Property No: 7

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              American Home Mtg Servicing                                                  108 & 110 S. Kentucky Ave.
                                                                                                              11104 Menaul Blvd Ne
                                                                                                              Albuquerque, NM 87112

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt




                                                                                                             Property No: 8

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Suntrust Mortgage                                                            218 & 220 S. Kentucky Ave.
                                                                                                              1001 Semmes Ave
                                                                                                              Richmond, VA 23224

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).

                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                             Property No: 9

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              American Home Mtg Servicing                                                  101 & 103 N. Kentucky Ave.
                                                                                                              11104 Menaul Blvd NE
                                                                                                              Albuquerque, NM 87112

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt




                                                                                                             Property No: 10

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Bac Home Loans Servicing                                                     2170 & 2172 Winchester Ave.
                                                                                                              450 American St
                                                                                                              Simi Valley, CA 93065

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).

                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                             Property No: 11

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Bac Home Loans Servicing                                                     2170 & 2172 Winchester Ave.
                                                                                                              450 American St
                                                                                                              Simi Valley, CA 93065

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt




                                                                                                             Property No: 12

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Specialized Loan Servicing                                                   651 Faulkner Ave.
                                                                                                              8742 Lucent Blvd Ste 300
                                                                                                              Highlands Ranch, CO 80129

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).

                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                             Property No: 13

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Bac Home Loans Servicing                                                     651 Faulkner Ave.
                                                                                                              450 American St
                                                                                                              Simi Valley, CA 93065

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt




                                                                                                             Property No: 14

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              American Home Mtg Servicing                                                  518 West Addition St.
                                                                                                              11104 Menaul Blvd NE
                                                                                                              Albuquerque, NM 87112

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).

                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                             Property No: 15

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              American Home Mtg Servicing                                                  301 Western Ave.
                                                                                                              11104 Menaul Blvd NE
                                                                                                              Albuquerque, NM 87112

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt




                                                                                                             Property No: 16

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              First Horizon Home Loans                                                     669 Faulkner Ave.
                                                                                                              PO Box 630148
                                                                                                              Irving, TX 75063

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).

                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                             Property No: 17

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Bac Home Loans Servicing                                                     527 West Race St.
                                                                                                              450 American St
                                                                                                              Simi Valley, CA 93065

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt




                                                                                                             Property No: 18

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              Onewest Bank                                                                 384 Wilkes
                                                                                                              6900 Beatrice Drive                                                          Berkeley, WV
                                                                                                              Kalamazoo, MI 49003

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).

                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
                                                                                                                    Case 10-16267-SSM                      Doc 40      Filed 08/24/10 Entered 08/24/10 20:26:30                          Desc Main
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                                                                                                             Property No: 19

                                                                                                             Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                              BB & T                                                                       609 Martin
                                                                                                              PO Box 1847
                                                                                                              Wilson, NC 27894

                                                                                                                  Property will be    (check one):
                                                                                                                           Surrendered                                       Retained

                                                                                                                  If retaining the property, I intend to   (check at least one):
                                                                                                                           Redeem the property
                                                                                                                           Reaffirm the debt
                                                                                                                           Other. Explain                                                                                    (for example, avoid lien
                                                                                                                  using 11 U.S.C.§522(f)).
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                                                                                                                  Property is (check one):
                                                                                                                         Claimed as exempt                                              Not claimed as exempt
